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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


  IVAN M. SUZMAN,                               )
                                                )
         Plaintiff                              )
                                                )
                                                )   Civil No. 05-192-P-S
         v.                                     )
                                                )
  ADOLPH CRISP, et al.,                         )
                                                )
         Defendants                             )

                        RECOMMENDED DECISION ON
               MOTION FOR SUMMARY JUDGMENT (DOCKET NO. 38)
                 AND MOTION FOR DEFAULT (DOCKET NO. 39)
                             BY IVAN SUZMAN

         In his complaint Ivan Suzman relates that he has advanced Young-Onset

  Parkinson's Disease and complains of the defendants' fraud and deceit apropos their 'care'

  of him after he sought help in the wake of a personal crisis. Suzman has filed a motion

  for summary judgment (Docket 38) and a separate motion for default judgment, both

  against Defendant Adolph Crisp. (Docket No. 39.)

         The motion for summary judgment states only that Crisp was served with a

  summons and a complaint on April 25, 2006, and failed to respond until June 2, 2006.

  The motion for default judgment relates the same information. In his own motion Crisp

  filed a motion to quash and to dismiss complaining that, while he received the amended

  complaint and exhibits from the United States Marshal he did not receive the actual

  summons. I have denied Crisp's motion to quash and recommended that the court deny

  Crisp's motion to dismiss. I have given all the defendants until September 1, 2006, to file
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  answers. I now RECOMMEND that the court DENY Suzman's motion for summary

  judgment and his motion for default judgment.



                                            NOTICE


                 A party may file objections to those specified portions of a
         magistrate judge’s report or proposed findings or recommended decisions
         entered pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by
         the district court is sought, together with a supporting memorandum,
         within ten (10) days of being served with a copy thereof. A responsive
         memorandum shall be filed within ten (10) days after the filing of the
         objection.

                  Failure to file a timely objection shall constitute a waiver of the
         right to de novo review by the district court and to appeal the district
         court’s order.

  July 12, 2006.
                                                 /s/Margaret J. Kravchuk
                                                 U.S. Magistrate Judge




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